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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

U.S. SECURITIES AND EXCHANGE
COMMISSION,

       Plaintiff,

v.                                                          Case No: 19-cv-448-T-33CPT

SPARTAN SECURITIES GROUP, LTD.
ISLAND CAPITAL MANAGEMENT,
CARL E. DILLEY, MICAH J. ELDRED and
DAVID D. LOPEZ,

      Defendants.
______________________________________


 UNOPPOSED MOTION FOR CONTINUANCE OF CASE MANAGEMENT HEARING

       Defendants Spartan Securities Group, LTD., Island Capital Management, Carl E. Dilley,

Micah J. Eldred and David D. Lopez hereby respectfully request the Court continue the Case

Management Hearing set for May 22, 2019. In support of this request, Defendants state as follows:

       1.      On April 29, 2019, the Court entered an order setting the Case Management

Hearing in this matter for May 22, 2019. An immediate family member of lead counsel for

Defendants is scheduled to have surgery that same date.

       2.      Pursuant to local Rule 3.01(g), Counsel for Defendants has conferred with Counsel

for the Commission regarding this request and the Commission does not oppose. Counsel has

further conferred and confirmed that they are available to attend a rescheduled Case Management

Hearing on any of the following dates: May 30, 2019, May 31, 2019, June 3-7, 2019; and

June 10-11, 2019.

       3.      This motion it not made to unnecessarily delay the proceedings in this case.




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       For the foregoing reasons, the Defendants respectfully request that the Court enter an order

continuing the May 22, 2019 case management hearing to one of the dates proposed above.



Respectfully submitted this 6th day of May, 2019.



                                                 /s/Alan M. Wolper
                                                 Alan M. Wolper (FL Bar No. 61524)
                                                 Heidi E. VonderHeide (admitted pro hac vice)
                                                 ULMER & BERNE LLP
                                                 500 W. Madison, Suite 3600
                                                 Chicago, Illinois 60661
                                                 awolper@ulmer.com
                                                 Tel: (312) 658-6500
                                                 Fax: (312) 658-6501

                                                 Anna Patricia Morales Christiansen
                                                 (FL Bar. No. 27634)
                                                 SPARTAN SECURITIES GROUP, LTD.,
                                                 15500 Roosevelt Blvd, Suite 303
                                                 Clearwater, FL 33760
                                                 Tel: 727-502-0508
                                                 Fax: 727-502-0858
                                                 pmorales@spartansecurities.com

                                                 Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

I hereby certify that I served a true and correct copy of the foregoing UNOPPOSED MOTION

FOR CONTINUANCE OF CASE MANAGEMENT HEARING on May 6, 2019, via the

Court’s electronic filing system, on all counsel of record.




                                                      /s/ Alan M. Wolper




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